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                                    STATEMENT OF FACTS

        The affiant, Robert Billington, is a Special Agent of the Federal Bureau of Investigation,
and has been so employed since January of 2017. I am presently assigned to the FBI’s Detroit
Division. In my duties as a special agent, I investigate Domestic and International Terrorism
matters. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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       During national news coverage of the aforementioned events, news media coverage and
video footage which appeared to be captured on mobile devices of persons present on the scene,
depicted evidence of violations of local and federal law, including scores of individuals inside the
U.S. Capitol building without authority to be there. This allowed investigators to collect publicly-
available photo and video media depicting many individuals accessing restricted areas of the U.S.
Capitol.

                             Investigative Leads Regarding Ryan Kelley’s
                           Possible Involvement in Events of January 6, 2021

       Due to the nature of the events at the U.S. Capitol on January 6, 2021 and the intense
news media and online amateur journalist coverage, many private individuals were able to
review a large amount of photos and videos produced that day. In this case, the FBI received
multiple tips regarding Ryan Kelley’s presence at the U.S. Capitol on January 6, 2021.

       On January 16th, 2021, an anonymous tipster from Michigan submitted an online tip to
the FBI National Threat Operations Center (NTOC) via tips.fbi.gov, which identified that Ryan
Kelley was at the Capitol attack on January 6, 2021. The tipster provided photos of who they
believed was Ryan D. Kelley (KELLEY) at the Capitol on January 6, 2021. The information
provided by the tipster showed KELLEY at the U.S. Capitol wearing a black coat, a backwards
black baseball cap with a rectangular U.S. flag emblem above the bill, and aviator sunglasses.

       This anonymous tip contained the same information posted on the Twitter account
“@MichiganTea” in which the same or similar pictures were used to identify KELLEY at the
U.S. Capitol on January 6, 2021. The relevant @MichiganTea post is below
(A PDF document of the post on this website is Item #1).




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        On January 19, 2021, an individual stating that their name was “Kate” called the FBI tip
line and identified that they had seen KELLEY of Allendale, Michigan in numerous pictures and
videos from the January 6, 2021 event at the U.S. Capitol.

        On January 28, 2021, a Confidential Human Source (CHS1) that had been working with
the FBI since 2020 to provide information about Domestic Terrorism groups in Michigan
identified an individual in a publicly available news media video that they believed to be
KELLEY. A screenshot from the video, which is publicly available and was pointed out to the
FBI by CHS1, is below. (A screenshot is below as Item #2)




       Source: https://projects.propublica.org/parler-capitol-videos/?id=zOZ8CgfNU1SY

Review of Public Information Produces a More Complete Narrative of Kelley’s Actions

       Based on the tips and information that had been provided, law enforcement took
additional steps to review available media in which the individual alleged to be KELLEY
appeared, in order to assemble a more complete record of that individual’s actions on January 6,
2021. To support this effort, the FBI employed the assistance of the Confidential Human Source
referenced above (CHS1), because that Source had an extensive background in online research
and data management.

       Based on a review of publicly available images, videos, news article, and other online
resources, the following record of the activities of the individual alleged to be KELLEY on
January 6, 2021 at the U.S. Capitol was assembled:

        At approximately 1:30 p.m. on January 6, 2021, a video of the event that was posted
online displays an individual wearing the aviator sunglasses and backwards black baseball cap at
about the 7 minute, 9 second mark. This indicates that KELLEY gathered near the entrance to
the North Western scaffolding on the Western side of the U.S. Capitol. The individual with the
sunglasses and baseball cap is pictured bleow.

        A screenshot from the video posted online in a publicly available location, is below. (The
full video this screenshot was taken from is Item #3)


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         Source: https://www.youtube.com/watch?v=xmF7qQdfcrQ&feature=youtu.be
           (“4K Footage from Capitol Grounds during January 6 Insurrection.mp4”)

        While near the entrance to the North Western scaffolding on the Western side of the U.S.
Capitol, which provided access to the stairs leading towards the entrance to the U.S. Capitol
building, KELLEY, the individual with a black coat, aviator sunglasses, and a red watch band,
uses their phone to film the crowd assaulting and pushing past U.S. Capitol Police Officers. A
screenshot from the video posted online in a publicly available location, is below. (The full video
this screenshot was taken from is Item #4)




                                           Source:
             https://www.youtube.com/watch?v=9mt8YGpJ5vs&feature=youtu.be
             “Capitol Protest in WashingtonD.C. on January 6- 2021.mp4” at 05:38

        On January 19, 2021, FBI personnel identified that the below image likely shows
KELLEY. The media is a video which shows KELLEY, wearing a black hat and a black coat, is
in a crowd of people who are assaulting and pushing past law enforcement officers. The
individual noted is pictured below near the center of the photo. The area of the U.S. Capitol
shown in this image is marked with a red circle on the map.

       Another screenshot from the same video, posted online in a publicly available location, is
below. (The full video this screenshot was taken from is also Item #4)




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                                           Source:
             https://www.youtube.com/watch?v=9mt8YGpJ5vs&feature=youtu.be
             “Capitol Protest in WashingtonD.C. on January 6- 2021.mp4” at 05:38

         Publicly available new media reporters and photographers captured images of the North
Western scaffolding on the Western side of the U.S. Capitol. This is one such image, which
shows another vantage point of the Crowd engaged with U.S. Capitol Police on North West
stairs, which KELLEY recorded with his cell phone. KELLEY off camera to the left.The area of
the U.S. Capitol shown in this image is marked with a red circle on the map. A photo of the area
that KELLEY, wearing a black hat and a black coat, recorded with his cellular telephone, is
shown below. (The Photo shown below is Item #5)




                Source: http://www.brentstirton.com/capitol-riots-washington-dc

        After causing the U.S. Capitol Police officers to retreat, the crowd climbed the stairs
towards the entrance to the interior of the U.S. Capitol. At approximately 1:51 p.m., KELLEY
moved towards the side of the nearby stairs and began to climb onto an architectural feature next
to those stairs. In this publicly available news media image, KELLEY can be seen through the
scaffolding on the stairs. Other members of the crowd are also identifiable. The area of the U.S.
Capitol shown in this image is marked with a red circle on the map below.

        Another image, from a news media reporter, shows KELLEY climbing near the
scaffolding. (The full video this screenshot was taken from is Item #6)




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     Source: Washington DC A Reporter’s Footage from Inside the Capitol Siege The New
                                 Yorker.mp4 at 02:01

        At approximately 2:00 p.m., KELLEY climbed onto and stood on an architectural feature
next to the North West stairs and indicated by waving his hand that the crowd behind him should
move towards the stairs leading into the U.C. Capitol building. This activity can be seen in a
video that was posted online on the internet site YouTube. (The full video this screenshot was
taken from is Item #7)




         Source: https://www.youtube.com/watch?v=3oqQ13b4tCQ&feature=youtu.be
   at 2:11, (“Youtube Remember45 Channel - Heads on pikes - Compilation of footage from
                               around Capitol grounds.mp4”).

This activity was also captured on CCV, showing KELLEY using his hands to support another
rioter who is pulling the metal barricade onto the scaffolding (Screenshots Items #8 and #9
below)




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        KELLEY remained standing on the architectural feature next to the North West stairs and,
at approximately 2:05 p.m., used his hands to pull a covering off of a temporary structure that U.S.
Capitol personnel had erected in support of a future planned event. An image of this is shown
below as Item #10.




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         Source: [periscope] Al Jazeera News - BREAKING - US Capitol on lockdown-
                                   1MYxNmNwwPnJw.mp4

        At approximately 2:20 p.m., KELLEY continued to gesture to the crowd, consistently
indicating that they should move towards the stairs that led to the entrance of the U.S. Capitol
interior spaces. In these images from Reuters news agency (left) and from a video posted to the
website Twitter (right), KELLEY continues to gesture to the crowd.

(The photo shown on the left is Item #11)

(The full video that the screenshot on the right was taken from is Item #12)




                                             Sources:
  Reuters and BBC Turkey at (https://www.sondakika.com/haber/haber-abd-kongresi-200-yil-
                        sonra-ilk-kez-saldiriya-13850440/ and Twitter at
            (https://twitter.com/ChuckModi1/status/1346934689005666305?s=20)

        At approximately 2:25 p.m., the individual in the black hat uses his cell phone to take a
picture of blood on an architectural feature at the U.S. Capitol Grounds, while standing on same,
in a video posted to YouTube (left). The same individual is identifiable in a crowd as a police
barricade is removed, in an image poster to the image sharing site Flickr (right).

(The full video that the screenshot on the left was taken from is Item #3)

(The photo shown on the right is Item #13)


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Source: YouTube (left) https://www.youtube.com/watch?v=xmF7qQdfcrQ&feature=youtu.be
(“4K Footage from Capitol Grounds during January 6 Insurrection.mp4”) at 10:28.
Flickr (right) https://flickr.com/photos/49283984@N05/50836136873/in/photostream/

        At approximately 2:28 p.m., the same individual runs on top of the stair railing towards
the U.S. Capitol’s North West Courtyard. These images from a video posted to YouTube show
the individual running towards the North West Courtyard. The area of the U.S. Capitol shown in
this image is marked with a red circle on the map. (The full video that this screenshot was taken
from is Item #14)




Source: [Youtube] 4K Footage of Trump Supporters Storm Capitol Building during January 6
Insurrection - SCNR - Fully Reviewed Howland.mp4 at 7:47-8:08

        Soon afterwards at about 2:29 p.m. the individual arrives at the top of the stairs and enters
the U.S. Capitol’s North West Courtyard and uses their thumb to motion towards the doors to the
interior of the U.S. Capitol Building. These actions were recorded in videos for banthis TV and
the New York Times (left) and for the Propublica non-profit journalism organizatoin (middle).
The area of the U.S. Capitol shown in this image is marked with a red circle on the map.

(The full video that the screenshot on the left was taken from is Item #15)

(The full video that the screenshot in the middle was taken from is Item #16)




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Source: (left) https://banthis.tv/watch?id=5ff6857e00bac0328da8e888
(“Washington DC Capitol Resistance Video banthis.tv banned-video CLIP.mp4”)

(middle) https://projects.propublica.org/parler-capitol-videos/?id=fo1Bh9ciOrwi


        At approximately 3:26 p.m., the individual in the black hat is seen in the U.S. Capitol’s
North West Courtyard. By this time, U.S. Capitol police had regained control of many parts of the
interior of the U.S. Capitol building, and were instructing unauthorized persons to leave the area.
This is the latest time at which this individual is noted. (The full video that the screenshots below
were taken from is Item #17)




                             Source: https://youtu.be/UvDxqV6CHpg
                                (“Cop Vs The American People”)

               Further Investigation Confirming Identification of Ryan D. Kelley

        In May of 2020, KELLEY attended the American Patriot Council “Judgement Day” rally
in Lansing, Michigan. During that event, KELLEY wore a backwards black hat, a blue shirt, and
a black coat. Parts of this attire were also worn by KELLEY in photos and videos from the U.S.
Capitol grounds on January 6, 2021. During that event, KELLEY also stated that: : “...the
American Patriot Rally was organized with one thing in mind: to encourage the senate to vote no
on extending [Governor] Whitmer’s emergency declaration, which they did. It was a victory....we
got exactly what we came for.” (Source: https://griid.org/2020/05/12/more-anti-lockdown-
protests-planned-for-may-14-in-lansing-and-grand-rapids/). KELLEY appears at the May 2020
event in the image below. (The photo shown below is part of an original photo. The original is
Item #18)




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Image source: https://www.americanpatriotcouncil.org/militia-members-stand-for-order-and-
patriotism

        In October of 2020, KELLEY attended the “American Patriot Council Nationwide
Freedom March” in Allendale, Michigan. During that event, KELLEY wore a blue shirt, a black
coat, a watch with a red watch band, and aviator sunglasses. Parts of this attire were also worn by
KELLEY in photos and videos from the U.S. Capitol grounds on January 6, 2021. KELLEY
appears at this event in the image below. (The photo shown below is Item #19)




                           Source: The Holland Sentinel online article.

        In November of 2020, KELLEY was a featured speaker and introduced by name at a
“Stop the Steal” rally at the Michigan Capitol in Lansing. During that event, KELLEY indicated
that those attending the rally should stand and fight, with the goal of preventing Democrats from
stealing the election.

       He gave a speech while wearing a name tag and stated “Covid-19 was made so that they
can use the propaganda to control your minds so that you think, if you watch the media, that Joe
Biden won this election. We’re not going to buy it. We’re going to stand and fight for America,
for Donald Trump. We’re not going to let the Democrats steal this election”.

                    https://www.facebook.com/watch/live/?v=368926927753596
“Ryan Kelley 11-14-2020 Stop the Steal Rally Facebook WXYZ-TV-Channel-7-fbdown.net.mp4”
(Screenshots from the video shown below are Items #20 and #21)

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      Also in November of 2020, KELLEY maintained an online presence on social media and
on Twitter, and used these online services to post publicly available messages. This post has a

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name of Ryan D. Kelley and a photo of him. It states “Expose the corrupt Democrats and try them
for treason! #justiceiscoming.” (The photo shown below is a screenshot of a social media post, and
is Item #22)




     CHS1 pointed out that KELLEY had made this publicly available tweet from the account
@RyanKelley on November 21, 2020.




Source: https://www.woodtv.com/news/national/allendale-board-member-seen-at-us-capitol-
riot/amp/

       Also, in a February 2, 2021 video interview with a local television news channel, KELLEY
speaks about being at the U.S. Capitol on January 6, 2021, and denies having gone inside the
building. KELLEY refuses to identify whether he is the individual wearing a dark coat and black
baseball cap in photos shown to him by the reporter. (The image shown below is a screenshot from
a video of a news interview. The video of the interview is Item #23).




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                  Source: https://www.facebook.com/watch/?v=432516104605814

       In a continued effort to conclusively identify the individual alleged to be KELLEY, the
FBI interviewed three people familiar with KELLEY to confirm his identity. On March 31,
2021, FBI agents interviewed a person who knows KELLEY personally, Witness 1. Witness 1
sees KELLEY in person once or twice per week. When presented with a collection of pictures
(Item #24) of KELLEY from January 6, 2021, Witness 1 positively identified them as KELLEY.
Witness 1 was confident in the identification of KELLEY.




        On April 3, 2021 FBI interviewed a law enforcement officer from Ottawa County
Sheriff’s Office (OSCO), Witness 2. OSCO Deputies work in and around the Allendale,
Michigan area, including Allendale Township and the Allendale Township Town Hall. As part
of these official duties, Witness 2 sees or interacts with KELLEY approximately every few
months. At the time of the interview, Witness 2 estimated that it had been approximately three
months since the last in-person encounter with KELLEY. When presented with a collection of
pictures from January 6, 2021 (Item #25), Witness 2 positively identified them as KELLEY.
Witness 2 was confident in the identification of KELLEY.




       On March 3, 2021, FBI interviewed a public official of Allendale Township who knows
KELLEY personally, Witness 3. When presented with pictures of the individual at the U.S.
Capitol believed to be KELLEY, Witness 3 positively identified the pictures (Item #26) as

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KELLEY. Witness 3 stated that he was not sure enough to testify to this fact in legal
proceedings however because Witness 3 had never seen KELLEY in a hat.




        In a further attempt to identify whether images identified by investigators were of Ryan
KELLEY, the following information was presented to an FBI Assistant Special Agent in Charge
who interviewed Ryan KELLEY in person in FBI office space on July 30, 2020. The ASAC was
able to identify KELLEY in the following two photos (which are Items #11 and #13 from above,
respectively):




       KELLEY is an appointed Planning Commissioner in Allendale Township. Database
checks show KELLEY of Allendale, Michigan is assigned to telephone number ending in -1265,
with an address in Allendale, Michigan. 1

        Based on the foregoing, your affiant submits that there is probable cause to believe that
KELLEY violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions or attempts or conspires to do so; and (4) knowingly
engage in any act of physical violence against any person or property in any restricted building or
grounds. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

1
 Both the phone number and address are known to the FBI but are redacted here due to the
public nature of this filing.
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        Your affiant submits there is also probable cause to believe that KELLEY violated 18
U.S.C. § 1361, which makes it a crime to willfully injure or commit any depredation against any
property of the United States, or of any department or agency thereof, or any property which has
been or is being manufactured or constructed for the United States, or any department or agency
thereof, or attempt to commit any of the foregoing offenses.


                                                   _________________________________
                                                   S.A. Robert Billington
                                                   FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 8th day of June, 2022.                                  Zia M. Faruqui
                                                                     2022.06.08 19:09:18
                                                                     -04'00'
                                                   ___________________________________
                                                   ZIA M. FARUQUI
                                                   U.S. MAGISTRATE JUDGE




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